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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,                                    Case No: 1:14-cr-235

v.                                                            HON. JANET T. NEFF

SAMUEL THURMAN,

                Defendant.
                                            /


                 ORDER ADOPTING REPORT AND RECOMMENDATION

         The Court has reviewed the Report and Recommendation filed on March 11, 2015 by the

United States Magistrate Judge in this action. The Report and Recommendation was duly served

on the parties, and no objection has been made thereto within the time required by law.

         THEREFORE, IT IS ORDERED that:

         1. The Report and Recommendation of the Magistrate Judge (Dkt 31) is approved and

adopted as the opinion of the Court.

         2. Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charges

set forth in Count One of the Indictment.

         3. The written plea agreement is hereby continued under advisement pending sentencing.




Dated: March 31, 2015                                  /s/Janet T. Neff
                                                      JANET T. NEFF
                                                      United States District Judge
